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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re
                                                                 Chapter 11
Lordstown Motors Corp., et al.,1
                                                                 Case No. 23-10831 (MFW)

                                        Debtors.                 (Jointly Administered)


                          SUPPLEMENTAL CERTIFICATE OF SERVICE

      I, Heather Fellows, depose and say that I am employed by Kurtzman Carson Consultants
LLC (KCC), the claims and noticing agent for the Debtors in the above-captioned case.

       On February 14, 2024, at my direction and under my supervision, employees of KCC
caused to be served per postal forwarding address the following document via First Class Mail
upon the service list attached hereto as Exhibit A:

        Debtors' Second Motion for Entry of an Order Extending the Deadline by Which
         Debtors May File Notices to Remove Actions [Docket No. 922]

       Furthermore, on February 16, 2024, at my direction and under my supervision, employees
of KCC caused to be served per postal forwarding address the following document via First Class
Mail upon the service list attached hereto as Exhibit A:

        Order Extending the Deadline by Which Debtors May File Notices to Remove
         Actions [Docket No. 954]

Dated: February 16, 2024
                                                               /s/ Heather Fellows
                                                               Heather Fellows
                                                               KCC
                                                               222 N Pacific Coast Highway, 3rd Floor
                                                               El Segundo, CA 90245
                                                               Tel 310.823.9000




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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                    Exhibit A
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                                                                       Exhibit A
                                                            Litigation Parties Service List
                                                              Served via First Class Mail
                 CreditorName              CreditorNoticeName           Address1                Address2           City    State      Zip
    Daniel J. Cohen and David M. Cohen     Johnson Fistel, LLP      Frank J. Johnson    501 W Broadway Ste 800   San Diego CA      92101‐3546




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